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_§N IN THE UNITED STATES DISTRICT COURT!
wr FOR THE NORTHERN DISTRICT OF TEXAS JUN - 6 1997 A
DALLAS DIVISION
NANCY DOHERTY, CLERK KOK
t Ber
FREEMAN, et al., § pA ed
§
Plaintiffs, §
§
v. § CIVIL ACTION NO.
§ 3:96-CV-1108-X
CITY OF DALLAS, §
§
Defendant. §

ORDER
Now before the Court are the Defendant's Motion For Summary Judgment filed on June
2, 1997 and Plaintiffs’ Motion for Partial Summary Judgment Against the City on the Issue of
Liability filed on June 2, 1997. After careful consideration of the motions, the filed materials

and the applicable law, the Court determines that the motions should be, and are hereby,

DENIED.

SO ORDERED
Dated: « lune G_, 1997.

the Randal
JOE KANDALL

UNITED STATES DISTRICT JUDGE

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